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                                  San Antonio Airport System
                             Speaking Points - City Council Briefings
                                     Airline Use and lease
                                       Date: June 6, 2024

OVERVIEW

What ls An Airline Use and lease Agreement (AULA) Agreement?
•   The San Antonio International Airport (SAT) has used an Airline Use and Lease Agreement to
    establish what airlines can da at an airport and what an airport is obligated to da for the
    airlines. In short, it sets the fees and responsibilities for both parties at a commercial airport
    and follows federal regulations.
•   Through an AULA, the airport and signatory airlines negotiate the rate and terms of the
    agreement, a process that generally takes 18 to 24 months to come to a consensus and
    when one airline signs it becomes executable (once City Council approves).
•   The AULA process is one of the major tools used at commercial airports throughout the
    United States toset the rates and regulations.
•   For this Agreement with a 15-year term, the City hired an outside firm (Kaplan Kirsch) which
    specializes in airline/airport agreements to assist the City Attorney's Office throughout the
    negotiations.

 Structure of the Negotiations
• The airlines in the negotiations include the signatory carriers to the original agreement
    which includes American, Delta, Southwest, United (all legacy carriers) and the two major
    cargo firms, Fedex and UPS. Spirit became a signatory airline in October 2023.
•   The airlines formed a committee with an airline technical representative (an agnostic third-
    party that represents the airlines as a whole). Southwest Airlines was made the chair of the
    committee but it is majority rule.

Timeline
•   We kicked off the AULA negotiations in 2022, initially meeting monthly but as of August
    2022 became bi-weekly.
•   In October 2023, the participating airlines and Airport team agreed in principal to a
    schedule for a draft full AULA tobe readied by November 2023 and finalized by April 2024
    with anticipation of one airline partially executing the agreement by August 2024 for a full
    City Council consideration in September 2024. This schedule was developed in alignment
    with the schedule of the Terminal Development Program and to have the Master Architect
    and the Construction Manager at Risk (CMAR) involved in the process and, more
    importantly, this schedule was intentionally structured so the new rates are beneficial for
    terminal debt payment.



Gating




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•   Du ring the negotiations, we met with each airline to ask them to provide their forecasted
    plans and long-term goals at SAT which would be vital to the determination of the gating
    assignments in the new terminal.
•   For example, the new terminal would have the opportunity for airline lounges and have the
    Federal lnspection Station (Customs) for international flights, so priority consideration
    would be given to those airlines who committed to those attributes.
        o This input will help ensure we have a balance of passenger activity across the
           complex to minimize crowding at the checkpoints, baggage claim area, holdrooms,
           curb side and parking.
•   Several models were established and vetted in congruence with all technical data and a
    keen focus an ensuring we provide the best level of service possible and balancing all
    terminal operations. With current and future Passenger Activity Levels, along with
    expedited growth patterns, not all airlines can be moved into the new terminal.
•   All airlines expressed the need for new gates. Two requested clubs.
•   Southwest asked for the most gates but provided with no formal or written commitment.
    They did share that had financial concerns and expected to have fewer aircraft at the end of
    the year.
•   We've made headquarter visits to each of the major carriers to better understand their
    growth plans. We want to avoid any air carrier requesting more gates than they can use to
    purposefully block other carriers from growing at SAT.

Next Steps
•   More than one airline has indicated that they are ready for the negotiations to reach
    completion and the agreement signed.
•   Jesus and his team have offered to meet with each airline to discuss their gating assignment
    with the intention that all airlines would receive the complete gating assignments at the
    June 21 st meeting.

What Are the Options if AULA Negotiations Reach a Stand-Still?
•   While the City has used the ALUA, it can use another option used by other airports - Rates
    By Ordinance. Under this process, the City would establish rates and charges for the use of
    their airport by air carriers, by ordinance - an agreement between the airport and the
    carriers serving the airport is not required. Rates established by ordinance must be fair,
    reasonable and not unjustly discriminatory and should be established an a compensatory
    basis.




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For the past year-plus we've been negotiating a long-term Airline Use and Lease
Agreement with the airlines.

We are following a process that is heavily regulated by the Feds and similar to the way
leases are negotiated at many airports around the the country. (In fact, we hired a
specialized attorney from DC, who represents many other airports in similar
negotiations.)

The signatory airlines - America, Delta, Southwest, Spirit, United, Viva Aerobus, and
Fed Ex - have formed a committee to negotiate. They have an Airline Technical Rep,
who speaks on their collective behalf, and there is a Chair, which is Southwest Airlines,
due to the 40% market share they have at SAT.

We don't have to go this raute - we could simply ask the City Council to approve the
rates by ordinance - but we believe this is the best path, because the revenues the
airlines generate will pay for the improvements we are making at the airport. lt is a
symbiotic relationship: their growth in service supports the expansion of our facilities,
whioh benafits our sharacLcustorners.

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    •   Do you want to build a club or lounge?
    •   Will you be flying internationally, either through your branded planes or through a
        partner (such as Delta and AeroMexico.)

American and Delta have each told they want clubs for their passengers. We currently
have one small club in Terminal B for United.

Every carrier has asked for more gates. Most of them want 1 or two more gates.
Southwest has asked for the most - 10 gates, up from the 7 they have today.

However, Southwest has not been willing to make any commitments regarding
increased nonstop service. Worse, they have expressed financial concerns and have
shared with us that they will have fewer planes at the end of this year than they do
today. We are concerned that their gate request is ultimately a play to block their
competitors from growing. In fact, they could spread their current flights among the
existing gates and meet our minimum requirements without adding service.

So after more than a year of negotiating, we are where we expected - and frankly,
wanted - to be: with the airlines jockeying, trying to elbow out each other.




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With this context in mind, we are preparing at our June 21 meeting to share our
recommended gate assignments. A couple of things to know:

   1. Not all carriers can fit in the new terminal, so someone will be unhappy.
   2. We have to balance the load of passengers across the terminal, so we don't
      have overcrowding in:
      • Security
      • Ticketing
      • Baggage
      • Curbside
   3. The new terminal will include our new federal inspection service and the
      international gates, so we are prioritizing carriers who fly internationally, and the
      new terminal is where we will build out the shells for new club lounges. So we've
      prioritized carriers who meet those needs.




SW is chair of the airline committee, but the AULA is a majority vote. The rest of the
airlines are ready to sign a deal, but Southwest is holding it up.

This is critical - it's 15 year deal - and it locks in the airlines' payments that will pay for
that building. You will approve the lease in the fall.




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